JPML FORM 1A
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

socknT No. 467 -- IN RE ARTHUR TREACHER'S FRANCHISEE LITIGATION

SOLS we

 

 

 

 

 

81/03/31 1 MOTION, MEMORANDUM IN SUPPORT, SCHEDULE OF ACTIONS, CERT.

OF SERVICE -- Plaintiffs Hager, Inc.; Magnesco Restau-
rants, Inc.; Irena Management, Inc., et al; and
Plaintiff/Defendant Clipper Foods, Inc.; and Defendants
A & B Management; Georgios D. Martinos; Dorothy Martinos;
Spencer Vavas; Agostine Malerbra; Delmarva F. & C., Inc.
and Robert Searles

SUGGESTED TRANSFEREE COURT: coe |

SUGGESTED TRANSFEREE JUDGE: |) oe - (cds)

81/04/13 NOTICE OF APPEARANCES: FRANK H. GRIFFIN, III, ESQ. for Kenneth
L. Horstmyer; JOHN M. ELLIOTT, ESQ. for Arthur Treacher's
Fish & Chips, Inc. and Mrs. Paul's Kitchens, Inc.; PETER
GRUENBERGER, ESQ. for Hager, Inc., Magnesco Restaurants, Inc.,
Irena Management, Inc., Iredio Management, Inc., Clipper
Foods, Inc., A&B Mgmt., Georgios Martinos, Dorothy Martinos,
Spencer Vavas, Agostine Malerba, Delmarva F&C Inc., Robert
Searles, Arthur Treacher's Franchisee Association (cds)

 

81/04/15 MOTION —-- Arthur Treacher's Fish & Chips, Inc. and
Mrs. Paul's Kitchens, Inc.

SUGGESTED TRANSFEREE DISTRICT: E. D. Pennsylvania

SUGGESTED TRANSFEREE JUDGE:

-— w/cert. of svc. (emh )

81/04/27 HEARING APPEARANCES -- Peter Gruenberger, Esq. for Hager Inc.;
Magnesco Restaurants, Inc.; Irena Management, Inc.;

Clipper Foods, Inc.; A&B Management; Georgios D. Martinos;
Dorothy Martinos; Spencer Vavas; Agostine Malerba; Delmarva
F. & C., Inc.; Robert Searles; Arthur Treacher's Franchisee
Association; John M. Elliott, Esq. For Arthur Treacher's
Fish & Chips, Inc. and Mrs. Paul's Kitchens, Inc. (ds)

81/04/27 WAIVER OF ORAL ARGUMENT -- Frank H. Griffin, III, Esq. for
Kenneth L. Horsymyer (ds)

81/04/29 3% RESPONSE/REPLY -- Franchisees' (Movnts No. 1)
w/fcert. of svc. (rew)

81/04/02 AMENDMENT TO HEARING ORDER FILED MARCH 23, 1981 -- Setting
motion for Panel Hearing in Washington, D.C. on 4/30/81 (emh)

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AethuyY Treacher's Fisk & ChipS&v. Magee Indusétrial

CONSENT OF TRANSFEREE DISTRICT COURT for assignment of
litigation to Judge John B. Hannum, E.D. Pa., for
coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. §1407.

TRANSFER ORDER -- transferring A-1 thru A-5 to be

consolidated with A-6 thru A-9 in E.D. Pa. under Judge
John B. Hannum for coordinated or consolidated pretrial
proceedings pursuant to 28 U.S.C. §1407. (eaf)

CONDITIONAL TRANSFER ORDER FILED TODAY (1)
B-10 Apthur Treacher's Fish & Chips v. Magee Industrial
Enterprises, M.D. Pa., C.A. No. 81-0728 -- Notified
counsel & Judges. (rew)

NOTICE OF OPPOSITION (B-10 Arthur Treacher's Fish & Chips

v. Magee Industrial Enterprises, et al., M.D. Pa.,
C.A. No. 81-0728) -- Arthur Treacher's Fish & Chips, Inc.
~~ w/fcert. of svc. (emh)

CONDITIONAL TRANSFER ORDER FILED TODAY -- C-12 Cortmac,
Inc. v. Arthur Treacher's Fish & Chips, Inc., et al.,
N.D.N.Y., 81-CV-627. Notified involved counsel
and judges. (eaf)

MOTION TO VACATE, BRIEF, CERT. OF SVC. -- B-10 Arthur

Treacher's Fish & Chips, Inc. v. Magee Ind. Enterprises,
Inc., etal., M.D. Pa., C.A.No. 81-0728. (eaf)

| CONDITIONAL TRANSFER ORDER FINAL TODAY -- C-12 Cortmac,

Inc. v. Arthur Treacher's Fish & Chips, Inc., et al.,

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N.D.N.Y., 81-CV-627 -- Not. inv. judges and clerks (cds)

CONDITIONAL TRANSFER ORDER FILED TODAY -- C-13 Worcester
Quality Foods, Inc. v. Arthur Treacher's Fish & Chips,
Inc., et al., D.Mass., 81-0215-F -- Notified involved

counsel and judges. (eaf)

> RESPONSE -- Defendants Magee Industrial Enterprises, Inc.

and M.I.E. Hospitality, Inc. -- w/Brief, Exhibits A & B

and cert. of service (cds)
ORDER VACATING CONDITIONAL TRANSFER ORDER -- C-13 Worcester

Quality Foods, Inc. v. Arthur Treacher's Fish & Chips,
Inc., et al., D. Mass., ,81-0125-F -- Notified involved
clerks, judges and counsel. ' (eaf)

 
 

 

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81/08/26 HEARING ORDER -~ Setting opposition of Arthur Treacher's
Fish & Chips, Inc. re (B-10 Arthur Treacher's Fish &
Chips v. Magee Industrial Enterprises, et al.,
M.D. Pa., C.A. No. 81-0728) for hearing on Sep. 24, 1981,
in Concord, New Hampshire ~- Notified involved counsel,
judges and clerks. (rew)

84/409/16 -~HEARENG-APPHARANECES - fex-Hearing—Heltd-en-September—14;,-£981
81/09/16 WAIVER OR ORAL ARGUMENT for Hearing Held on September 24,
1981 -- Frank H. Griffin, III, Esq. for Kenneth L. Horstmyer;
John E. McKeever, Esq. for Magee Industrial Enterprises,
Inc. and M.I.E. Hospitality, Inc.; John F. Stoviak, Bsq
for Arthur Treacher's Fish & Chips, Inc. and Mrs. Paul's
Kitchens, Inc.; Timothy W. Callahan, II, Esq. (waived) (ds)
81/10/02 TRANSFER ORDER -- B-10 Arthur Treacher's Fish & Chips, Inc.
v. Magee Industrial Enterprises ,inc., M.D.Pa., 81-0728 --
transferring case to E.D.Pa. for coordinated or
consolidated pretrial proceedings. Notified involved
clerks, judges and counsel. (eaf)

 
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JPML Form 1
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Revised: 8/78
DOCKET NO. 467. -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE ARTHUR TREACHER'S FRANCHISEE LITIGATION

 

 

SUMMARY OF LITIGATION .

 

Hearing Dates Orders Trans feree

 

April 30, 1981 Dates Filed Type Citation District Name of Judge Assigned From

 

 

June 2, 1981 TO ED. Pa. John B. Hannum

 

 

 

Special Transferee Information

 

DATE CLOSED:
LISTING OF INVOLVED ACTIONS

JPML FORM 1

DOCKET NO.

467 ..—

IN RE ARTHUR TREACHER'S FRANCHISEE LITIGATION

 

 

Tntra-
Office
Number

Caption

District
and
Judge

Civil
Action
Number

Transfer
Date

Trans fered
Docket
Number

Date of

 

v. Arthur Treacher's
Inc., et al.

Hager Inc.
Fish & Chips,
Inc. v. Arthur
Inc.,

Magnesco Restaurants,
Treacher's Fish & Chips,

et al. v.
Ince,

Irena Management, Inc.,
Arthur Treacher's Fish & Chips,
et al.

Clipper Foods, Inc. v. Arthur
Treacher's Fish & Chips,

Arthur
Inc., et al.

KIZ Fish & Chips, Inc. v.
Treacher's Fish & Chips,

Arthur Treacher's Fish & Chips, Inc.
v. A & B Management Corp., et al.

Arthur Treacher's Fish & Chips, Inc.
ve Georgios D. Martinos, et al. v.
Mrs. Paul's Kitchens, Inc.
Arthur Treacher's Fish & Chips, Inc.
ve. Arthur Treacher's Franchisee
Association, et al.

Arthur Treacher's Fish & Chips, Inc.
v. Arthur Treacher's Franchisee
Association, et al.

Arthur Treacher's Fish & Chips, Inc.
v. Magee Industrial Enterprises,

Inc., et al. 6¢{I/

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et al.

Inc., et al.

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nDOCKET No. 467 --

 

 

 

 

 

Intra- District Civil . Date of
Office and Action Transferfransfereepismissal
Number Caption Judge Number Date pocket No.pr Remand Misc.
XvZ-11 | M.I.E. Hospitality, Inc. v. arthur  [E.D.pa. | 81-2468-—_|.__ _ 2)G/6 @)
. Treacher's Fish & Chips, Inc., et al.
C-12 Cortmac, Inc. v. Arthur Treacher's Fish N.D.N.¥. 81-CV-627| *) 0! f/- 25% o/i/ebd
& Chips, Inc., et al. /
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c-13 Worcester Quality Foods, Inc. v. D. Massy 81-0215-F B/-21 7°

Arthur Treacher's Fish & Chips, Inc., |Preedmar

    

| | ee Wt /2
XYZ-14 Arthur Treacher's Fish & Chips, Inc. [E.D.Pa. | 81-4509- =

v. Arthur Treacher's of New England,
Inc., et al.

XYZ-15 Arthur Treachers v. Michael F. Reid, [E.D.Pa. | 80-3683 --—-}----+---}+--~....-~- +-1/13/82D
et al.
XYZ-16 Arthur Treachers v. ICLAID EnterprisesE.D.Pa. BO-3682 ~----+----—--- fe oe ae we a a ae r—1/13/82b
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X¥Z-17 Arthur Treachers Fish & Chips v. E.D.Pa. | 82-0043 Gf ai
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JPML Form 4

  

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 467 --

In re Arthur Treacher's Franchisee Litigation

 

 

 

 

“HAGER INCT (A-I) 7
MAGNESCO RESTAURANTS, INC. (A-2)
IRENA MANAGEMENT, INC., ET AL. (A-3)
CLIPPER FOODS, INC. (A-4)

A & B MANAGEMENT

GEORGIOS D. MARTINOS
DOROTHY MARTINOS

SPENCER VAVAS

AGOSTINE MALERBA
DELMARVA F. & C., INC.
ROBERT SEARLES /CORTMAC, INC.
ARTHUR TREACHER'S
FRANCHISEE ASSOCIATION
Peter Gruenberger, Esq.
Weil, Gotshal & Manges
767 Fifth Avenue

New York, New York 10153

(C-12)

KIiZ FISH & CHIPS, INC.
NO APPEARANCE RECEIVED
Steven A. Freedman, Esq.

Law Office of Carl F. Gillombardo,
940 Leader Building

Cleveland, Ohio 94114

(A-5)

JY.

ARTHUR TREACHER'S FIS

(A-6 through A-9) G
MRS. PAUL'S KITCHENS,
John M. Elliott, Esq.
2600 The Fidelity Building
Philadelphia, Pennsylvania

& CHIPS,

-f&

INC.

INC.

19109

KENNETH L. HORSTMYER

Frank H. Griffin, III, Esq.

3400 Centre Square West v
1500 Market Street
Philadelphia, Pennsylvania

19102

 

 

ATCO, LTD.

JEFFREY ENTERPRISES OF KENTUCKY,
FRED JEFFREY

Steven Kapustin, Esq.

Kramer and Salus

1520 Locust Street

7th Floor

Philadelphia, PA 19102

INC.

MAGEE INDUSTRIAL ENTERPRISES, INC.
M.1I.E. HOSPITALITY, INC.(deft. in B-10)
Otis W. Erisman, Esquire

$¢ehr.ader, Harrison, Segal & Lewis

1719 Packard Bldg. ‘
Philadelphia, Pa. 19102 “

WORCESTER QUALITY FOODS, INC, (c-13)

Seymour Weinstein, Esquire
Burwick & Burwick
370 Main Street

Worcester, Mass. 01608

 
 

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET NO. 467 __ IN RE ARTHUR TREACHER'S FRANCHISEE LITIGATION

Name of Pa Named as Par in Following Actions

> s ~ zZ

Arthur Treachers Fish &
Chips, Inc,

Arthur Treacher's
Franchisee Association

Mrs. Paul's Kitchen, Inc,

A & B Management Corp.

Georgios D. Martinos

Dorothy Martinos

A. T. Franchisee Assocition

Spencer Vavas

Agostine MalerHa

Delmarva F. & C., Inc.

Robert Searles

 

 
 

KENNETH L. HORSTMYER
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